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10
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11
                                  UNITED STATES DISTRICT COURT
12                              NORTHERN DISTRICT OF CALIFORNIA
                                     SAN FRANCISCO DIVISION
13
     In re: CATHODE RAY TUBE (CRT)
14   ANTITRUST LITIGATION
                                                           Master File No. 3:07-cv-05944-SC (N.D. Cal.)
     This Document Relates to Individual Case No.          MDL No. 1917
15

16   3:13-cv-02171-SC

17
     DELL INC. and DELL PRODUCTS L.P.,                     Individual Case No. 3:13-cv-02171-SC
18
               Plaintiffs,
19
               v.                                          STIPULATION AND [PROPOSED]
20                                                         ORDER REGARDING SCHEDULING
     HITACHI, LTD., et al.,
21
               Defendants.
22
               Plaintiffs Dell Inc. and Dell Products L.P. (collectively “Dell”) and Defendants Mitsubishi
23
     Electric Corporation, Mitsubishi Electric US, Inc., and Mitsubishi Electric Visual Solutions
24
     America, Inc. (collectively “Mitsubishi Electric”) have conferred by and through their counsel
25
     and, subject to the Court’s approval, HEREBY STIPULATE AS FOLLOWS:
26
               WHEREAS, September 5, 2014 was the deadline to complete fact discovery in the Dell
27
     action.
28


     STIPULATION AND [PROPOSED] ORDER                                                        Case No. 07-5944
     REGARDING SCHEDULING                                                                     MDL NO. 1917
       Case 3:07-cv-05944-JST Document 2888 Filed 10/02/14 Page 2 of 3



 1
            WHEREAS, September 12, 2014 is the deadline for all parties to object to or move to
 2
     compel additional responses for all written discovery responses in the Dell action.
 3
            WHEREAS, Dell and Mitsubishi Electric continue to negotiate initial responses and
 4
     production of documents by Mitsubishi Electric to Dell’s Second Set of Interrogatories and First
 5
     Set of Requests for Production.
 6
     NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED between counsel as
 7
     follows: the deadline for Dell to move to compel additional responses for Dell’s Second Set of
 8
     Interrogatories and First Set of Requests for Production to Mitsubishi Electric shall be moved to
 9
     one week following Mitsubishi Electric’s initial responses and production. Dell does not waive
10
     any of its rights with respect to Mitsubishi Electric’s initial responses to Dell’s Second Set of
11
     Interrogatories and First Set of Requests for Production, including challenging the responses as
12
     untimely. If Mitsubishi Electric does not serve its initial responses or reach an agreement with
13
     Dell by September 26, 2014 as to its initial responses, Dell retains the right to move to compel
14
     responses from Mitsubishi Electric with respect to Dell’s Second Set of Interrogatories and Frist
15
     Set of Requests for Production to Mitsubishi Electric. All other dates in the Scheduling Order are
16
     unaffected by this stipulation.
17
                                                   * * *
18
            The undersigned parties jointly and respectfully request that the Court enter this
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                                                                               ISTRIC
     stipulation as an order.
                                                                          TES D      TC
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     PURSUANT TO STIPULATION, IT IS SO ORDERED.                         TA
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22
            October 2, 2014                                                 APPRO
     Dated:___________________                         ______________________________________
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23                                                                 Hon. Samuel Conti
                                                               United States District Judge
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     STIPULATION AND [PROPOSED] ORDER                                                        Case No. 07-5944
     REGARDING SCHEDULING                                                                     MDL NO. 1917
       Case 3:07-cv-05944-JST Document 2888 Filed 10/02/14 Page 3 of 3



 1
     DATED: September 12, 2014                   ALSTON & BIRD LLP
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24                                                 Mitsubishi Electric US, Inc., and Mitsubishi
                                                   Electric Visual Solutions America, Inc.
25
                                                 * * *
26

27          Pursuant to Local Rule 5-1(i), the filer attests that the concurrence in the filing of this

28   document has been obtained from each of the above signatories.

                                                      3
     STIPULATION AND [PROPOSED] ORDER                                                     Case No. 07-5944
     REGARDING SCHEDULING                                                                  MDL NO. 1917
